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                  IN THE UNITED STATES DISTRICT             CO~*Cr, ;:-                              Pf? 2 17
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                       FOR THE DISTRICT OF MONTANA

                               BILLINGS DIVISION


UNITED STATES OF AMERICA,               )     Cause No. CR 06-16-BLG-RFC
                                        )
             PlaintifflRespondent,      )
                                        )
      vs.                               )     ORDER DENYING § 2255 MOTION
                                        )     AND DENYING CERTIFICATE
ESAK FESSAHAYE ABRAHAM,                 )     OF APPEALABILITY
                                        )
             De fendantIMov ant.        )


      This case comes before the Court on DefendantIMovant Esak Abraham's

motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255.

                                   I. Background

      On January 19, 2006, a grand jury indicted Abraham and nine other persons on

one count ofconspiring to possess with intent to distribute and to distribute more than

50 grams of cocaine base or 5 kilograms ofcocaine, a violation of21 U.S.C. §§ 846

and 841(a)(1) (Count 1); one count of possession with intent to distribute over 5

kilograms of cocaine or over 50 grams of cocaine base, or aiding and abetting the

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same, a violation of2l U.S.C. § 841 (a)(1 ) (Count 2); and, on a Pinkerton theory; 31

other counts charging drug crimes and possession of a firearm in furtherance of drug

trafficking. Indictment (doc. 1) at 1-14. A Second Superseding Indictment was

eventually issued, charging 39 counts in all. Second Superseding Indictment (doc.

463) at 1-18.

       On May 30, 2007, the parties filed a written plea agreement under seal.

Abraham agreed to plead guilty to Count 1, the conspiracy count, and the United

States agreed to dismiss the remaining thirty-eight counts. Plea Agreement (doc. 473)

(under seal) at 2 ~~ 4-5, 3-4 ~ 4.

       On January 3, 2008, Abraham appeared in open court for a change of plea

hearing. Minutes (doc. 518). Abraham admitted that the amount of cocaine base

made during the period of the conspiracy for resale was over 50 grams. Change of

Plea Tr. (doc. 553) (under seal) at 29:21-30:6. He denied that he distributed cocaine

base, but he agreed that he distributed at least 5 kilograms of powder cocaine. ld. at

31: 11-21. The United States asserted that it could establish, through co-conspirator

testimony, that the conspiracy distributed "in excess of 1.5 kilograms ofcocaine base


       1    Pinkerton v. United States, 326 U.S. 640, 647 (1946) ("If [the overt act element in a
conspiracy charge] can be supplied by the act ofone conspirator, we fail to see why the same or other
acts in furtherance of the conspiracy are likewise not attributable to the others for the purpose of
holding them responsible for the substantive offense.").

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or crack or rock cocaine." Id. at 33 :24-25. During the hearing, some confusion came

to light regarding the terminology of cocaine base, powder cocaine, rock, and crack,

but the matter was clarified and resolved, with Abraham admitting he was responsible

for at least 5 kilograms of powder cocaine. Change of Plea Tr. (doc. 553) at 30:25­

31 :21.

          On June 2, 2008, Abraham filed a Sentencing Memorandum, asserting that he

did not supply crack to anyone and did not counselor aid the conversion of powder

cocaine into crack. He sought a base offense level of 26 based on distribution of a

little more than 1.8 kilograms of powder cocaine. Sentencing Mem. (doc. 569) at 2,

5; Objections to Presentence Report (doc. 570) at 2 ~ 4, 3 ~ 6; Revised Objections

(doc. 587) at 1-2, 3 ~ 3.

          A sentencing hearing was held on June 17, 2008.        Abraham was held

responsible only for the 5 kilograms ofpowder cocaine he admitted at his change of

plea hearing. His base offense level under the advisory guidelines was 32. U.S.S.G.

§ 2D1.1(c)(4). He received a 2-level enhancement under U.S.S.G. § 3B1.1(c) and a

three-level reduction for acceptance of responsibility under U.S.S.G. § 3E1.1 for a

total adjusted offense level of31. With a criminal history category of I, his advisory

guideline range was 108-135 months. He faced a mandatory minimum of 120



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months. 21 U.S.C. § 84 1(b)(1)(A)(ii)(II). Abraham was sentenced to serve 120

months in prison, to be followed by five years' supervised release. Minutes (doc.

588); Judgment (doc. 596) at 2-3.

       Judgment was entered on June 20, 2008. Judgment at 1. Abraham did not

appeal. His conviction became final on July 7,2008. Fed. R. App. P. 4(b)(1)(A)(i).

He timely filed his § 2255 motion on June 17,2009. 28 U.S.C. § 2255(f)(1).

                              II. Claim and Analysis

       Abraham concedes two ofhis claims. He concedes that counsel understood the

significant discrepancy in the quantity ofpowder cocaine the prosecution would have

to prove and the quantity ofcrack cocaine it would have to prove to subject Abraham

to the highest sentencing bracket, 21 U.S.C. § 84I(b)(I)(A). Reply (doc. 750) at 2.

He also concedes that counsel "testified she had concerns, based upon the Pinkerton

theory advanced in the Second Superseding Indictment, that a jury could find

Abraham responsible for crack cocaine, notwithstanding the fact he denied delivering

any crack cocaine to his co-conspirators." ld. Abraham maintains that his guilty plea

was invalid because counsel did not adequately advise him about the sentence he

faced and, had she done so, there is a reasonable probability he would have gone to

trial. Id. at 11.



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      The record, however, is replete with references to Abraham's knowledge ofthe

sentence he faced. Counsel told him:

      Q.      Okay. And prior to the change-of-plea hearing, did you advise
              Esak that he was subject to the mandatory minimum sentence of
              120 months?

      A.      I did. Yeah.

1 Strong Dep. at 26:9-12.

      And I told him:

      The Court: Do you understand that by statute, unless certain conditions
                 in this plea agreement are met, I'm required to impose a
                 minimum sentence of at least ten years or 120 months?

      Abraham:      Yes, I do.

Change of Plea Tr. at 8:2-6.

      And he himself said so:

      Q.      So all these conversations prior to changing your plea, did you
              have any discussions with Penny Strong regarding the mandatory
              minimum sentence for that conspiracy you were charged?

      A.      Yeah. She told me that it was a mandatory minimum ten years.

Abraham Dep. (doc. 745) at 13:16-21.

      Abraham admitted he was responsible for 5 kilograms of powder cocaine:

      The Court: Okay. Let me ask you this. Do you admit that you
                 distributed at least 5 kilos of powder cocaine?

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       Abraham:        Yeah.

Change of Plea Tr. at 30:25-31 :21.

       Ninth Circuit law holds that "gross mischaracterization ofthe likely outcome"

at sentencing, "combined with ... erroneous advice on the possible effects of going

to trial," establishes deficient performance. Iaea v. Sunn, 800 F .2d 861, 865 (9th Cir.

1986). Prejudice is established if there is a reasonable probability that, but for

counsel's bad advice, the defendant would have pleaded guilty instead of going to

trial. Hill v. Lockhart, 474 U.S. 52,59 (1985).

       Even assuming the dubious proposition that Abraham really thought he was

going to be sentenced to less than 120 months, he has not shown a reasonable

probability that he would have gone to trial had he been correctly advised. 2 He

asserts:

       [H]ad Abraham known he was facing a mandatory minimum sentence
       of 120 months, he may well have chosen to take his case to trial and
       attempt to limit his exposure to the 1.8 kilograms of [powder] cocaine
       specifically identified in the Second Superseding Indictment ... which
       would necessarily limit his base offense level and potentially allow him
       to receive a sentence below the mandatory minimum sentence required
       by 21 U.S.C. § 841(b)(1)(A).


       2  The issue of whether postconviction relief is available to a defendant who stood trial
instead ofpleading guilty is currently before the United States Supreme Court. See Lafler v. Cooper,
No. 10-209 (U.S. cert. granted Jan. 7,2011), Missouri v. Frye, No. 10-444 (U.S. cert. granted Jan.
7, 2011). Both cases were argued on October 31, 2011. The analysis here assumes a claim will lie.

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Reply at 11.

      But Abraham identifies no evidence and no law that would have led competent

counsel to change her recommendation as to the plea. See Hill, 474 U.S. at 59-60.

If, as he concedes, counsel's concerns about Pinkerton liability were valid, then he

faced not only the prospect ofconviction for the powder but also all the crack as well

as the gun alleged in the Second Superseding Indictment. Abraham pled guilty

because counsel advised him ofthese facts and because she told him he could try to

obtain a sentence ofless than 120 months. There is no reasonable probability that he

would have gone to trial if counsel had given him the same advice about trial while

also telling him he might be lucky (for an entirely unexplained reason, given the

Pinkerton concession) and avoid responsibility for crack, or he might be unlucky and

be convicted of the crack and the firearm in addition to the powder. Because he

identifies no basis for believing counsel was wrong about the strength of the

prosecution's Pinkerton theory, his claim is denied.

                         III. Certificate of Appealability

      "The district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant." Rule II(a), Rules Governing § 2255

Proceedings. A COA should issue as to those claims on which the petitioner makes



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"a substantial showing of the denial of a constitutional right."         28 U.S.C. §

2253(c )(2). The standard is satisfied if "jurists of reason could disagree with the

district court's resolution of [the] constitutional claims" or "conclude the issues

presented are adequate to deserve encouragement to proceed further." Miller-EI v.

Cockrell, 537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473, 484

(2000».

      Although there was good reason to appoint counsel, it is clear at this point that

a reasonable jurist could not find a basis for relief under these circumstances.

Abraham concedes the validity ofthe prosecution's Pinkerton theory. Given that, no

reasonable person who was correctly advised that a mandatory minimum sentence of

120 months was the very lowest sentence he could hope for would choose to go to

trial on an indictment alleging more than 67 grams of crack in addition to 1.8

kilograms of powder cocaine and possession of a firearm in furtherance of a drug

trafficking crime. A COA is not warranted.



      Accordingly, IT IS HEREBY ORDERED as follows:

      1. Abraham's motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (doc. 667) is DENIED;



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      2. A certificate of appealability is DENIED.       The Clerk of Court shall

immediately process the appeal if Abraham files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and in

CV 09-77 -BLG-RFC are terminated and shall close the civil file by enteringjudgment

in favor of the United ~nd against Abraham.

      DATED this   U-~y of December,            1.



                                       .chard F. Cebull, Chief Judge
                                      United States District Court




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